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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

KATHLEEN CAHILL COOKER                       :
                                             :
       v.                                    :       CIVIL ACTION NO. 21-2667
                                             :
MEADOWOOD CORPORATION                        :


                                            ORDER


       This 8th day of November 2021, it is hereby ORDERED that Defendant's Motion to

Dismiss for Failure to State a Claim Pursuant to Fed. R. Civ. P. 12 (b)(6), ECF 26, is

GRANTED. Plaintiff’s Complaint is DISMISSED with prejudice.



                                                             /s/ Gerald Austin McHugh
                                                            United States District Judge
